Case 2:07-cr-02042-SAB   ECF No. 644   filed 10/16/08   PageID.3269 Page 1 of 6
Case 2:07-cr-02042-SAB   ECF No. 644   filed 10/16/08   PageID.3270 Page 2 of 6
Case 2:07-cr-02042-SAB   ECF No. 644   filed 10/16/08   PageID.3271 Page 3 of 6
Case 2:07-cr-02042-SAB   ECF No. 644   filed 10/16/08   PageID.3272 Page 4 of 6
Case 2:07-cr-02042-SAB   ECF No. 644   filed 10/16/08   PageID.3273 Page 5 of 6
Case 2:07-cr-02042-SAB   ECF No. 644   filed 10/16/08   PageID.3274 Page 6 of 6
